                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Richmond Division

UNITED STATES OF AMERICA                         )          Criminal No. 3:15-cr-201

                                                            18U.S.C. §§ 1343 &2
        V.                                                  Wire Fraud
                                                            (Count 1)

DAVID WAYNE SCHNEIDER,                                      26 U.S.C. § 7206(1)
                                                            Tax Fraud
                              Defendant.                    (Count 2)

                                                            18 U.S.C. §641
                                                            Theft of Government Property
                                                            (Count 3)

                                                            18 U.S.C. §981
                                                            Criminal Forfeiture Allegation

                                     PLEA AGREEMENT


        Dana J. Boente, United States Attorney for the Eastern District of Virginia, Margaret W.

Reed, Special Assistant United States Attorney, the defendant, DAVID WAYNE SCHNEIDER,

and the defendant's counsel, Jo^ March, Esquire, have entered into an agreement pursuant to
Rule Il(c)(l)(JO ofthe Federal Rules of Criminal Procedure, The terms oftheagreement are as

follows:


   1.        Offense and Maximum Penalties


        The defendant agrees to waive indictment and plead guiltyto a three-count criminal

information:


                a.    Count One charges the defendant with Wire Fraud, in violation of Title 18,

United States Code, Section 1343. The maximum penalties for Wire Fraud are a term of 20
